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                                                                                  IN CLERK'S OFFICE
                                                                             U.S. DISTRICT COURT E.D.N.Y.

   unit£d states district court                                              ★      MAY 0 9 2019        ★
   EASTERN DISTRICT OF NEW YORK
                                                                                BROOKLYN OFFICE

   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                       No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



    STATEMENT OF OBJECTIONS OF CLASS MEMBER[FILL IN COMPANY NAME1

          REISNER DISTRIBUTOR, INC. (hereinafter "Company") accepted Visa and
   Mastercard transaction cards between 2004 and the present date. Company is a member of the
   Rule 23(b)(3) settlement class in this case, and it has not engaged in any other settlement of its
   claims against Visa and/or Mastercard. Company hereby submits its objections to the proposed
   settlement preliminarily approved by the Court in January ofthis year.

       Company is located at REISNER DISTRIBUTOR,INC.,310 COMMERCIAL AVE,
   ANACORTES, WASHINGTON 98221. Company is a petroleum marketer engaged in the
   wholesale and retail sale of branded motor fuels. Since 1975, it has accepted Visa and Mastercard
   transaction cards at retail service station and convenience store locations. Motor fuels at these
   locations have been sold under the SHELL,CHEVRON,TEXACO,76, AND SPIRIT brands
   since 2004, and the credit card transactions at each location were processed by the applicable
   branded supplier.

           Company is concerned that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement fund
   for transactions at retail locations where Company accepted the applicable Visa or Mastercard
   transaction cards and paid the interchange fees. Company understands that the Court has indicated
   that class counsel cannot represent both the branded suppliers and branded marketers, like
   Company, because only one of the two groups is entitled to settlement funds attributable to
   Company's retail locations. None of the class representatives were branded marketers, and
   branded marketer interests were not represented when the settlement was negotiated. Nor are they
   adequately represented now by a conflicted class counsel who are incapable of asserting branded
   marketer interests when they conflict with the interests of major oil companies.

           As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
   recovery, or whether any mechanism is in place to sort all ofthis out. Nothing in the Class Notice
   states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
   for transactions at these locations. In short, Company is concerned that it is being deprived of its
   legal right to fully participate in the settlement.

          In addition to not knowing what recovery Company may be entitled to as part ofthe class
   settlement, we do not believe that proper efforts are being made to notify branded marketers, like
   Company,so that they can object to the settlement. Although Company was sent a Class Notice
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   from the Claims Administrator,other branded petroleum marketers have received no notice
   even though they accepted the cards, and paid the fees, during the relevant period.
   Administrator. TTie names and addresses of branded petroleum marketers, like Company,can be
   obtained by the Claims Administrator from the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted,

                                               REISNER DISTRIBUTOR,INC.

                                               By: DAN AVERILL


                                               VTCE PRESIDENT
